 Case 3:00-cr-00139-LRH-VPC             Document 104        Filed 11/22/06      Page 1 of 2



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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                *****
 9   UNITED STATES OF AMERICA,                       )
                                                     ) 3:00-cr-00139-LRH (VPC)
10                                  Plaintiff,       )
                                                     ) ORDER CORRECTING CLERICAL
11   vs.                                             ) MISTAKE REGARDING SENTENCE
                                                     )
12   GARY JONES,                                     )
                                                     )
13                                  Defendant.       )
                                                     )
14
15          Before the court is Defendant’s Emergency Motion (Doc. #103) seeking the correction of
16   an asserted mistake relative to the sentence imposed upon Defendant as a result of the revocation
17   of his supervised release. In it, Defendant’s counsel has brought to the court’s attention that a
18   clerical mistake was made when the Defendant’s sentence was imposed on June 29, 2006.
19   Defendant’s counsel asserts that he understood that it was the court’s intention that the
20   Defendant’s sentence be for a period of time which would have ended on November 15, 2006.
21   Counsel represents that the Bureau of Prisons is calculating an incorrect release date for
22   sometime in December 2006 and seeks an appropriate correction of any clerical error that may
23   have been made concerning the sentence imposed. Counsel represents that the United States
24   Attorney’s office has no objection to the clarification of the sentence imposed.
25          Defendant’s Emergency Motion (Doc. #103) will be GRANTED. Upon review of the
26   record and of the Court Reporter’s rough transcript of the hearing before this court on June 29,
27   2006, it was indeed the intention of the court to impose a sentence of six months, which would
28   have commenced on May 15, 2006, and, therefore, ended on November 15, 2006. The date of
 Case 3:00-cr-00139-LRH-VPC            Document 104        Filed 11/22/06      Page 2 of 2



 1   November 15, 2006, should have been specifically identified by the court in imposing sentence
 2   but was not expressly stated. However, that was the court’s intention as expressed in open court
 3   on June 29, 2006, and the Defendant’s sentence is, therefore, corrected accordingly.
 4          IT IS THEREFORE ORDERED that the court’s record shall reflect that the sentence
 5   imposed upon the Defendant was for the appropriate period of time ending on November 15,
 6   2006. In the event that the Defendant remains in custody as a result of the sentence imposed, the
 7   court requests the Bureau of Prisons to act as expeditiously as possible in accomplishing his
 8   release.
 9          IT IS SO ORDERED.
10          DATED this 22nd day of November, 2006.
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13                                                ___________________________________
                                                  LARRY R. HICKS
14                                                UNITED STATES DISTRICT JUDGE
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